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Counsel for the Debtor and Debtor-in-Possession

                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                             )
In re:                                                       )   Chapter 11
                                                             )
HIGHLAND CAPITAL MANAGEMENT, L.P., 1                         )   Case No. 19-34054-sgj11
                                                             )
                                 Debtor.                     )
                                                             )



                          NOTICE OF (I) EXECUTORY CONTRACTS
                    AND UNEXPIRED LEASES TO BE ASSUMED BY THE
         DEBTOR PURSUANT TO THE FIFTH AMENDED PLAN, (II) CURE AMOUNTS,
          IF ANY, AND (III) RELATED PROCEDURES IN CONNECTION THEREWITH

       PLEASE TAKE NOTICE THAT on November 24, 2020, the United States Bankruptcy
Court for the Northern District of Texas (the “Bankruptcy Court”) entered an order [Docket No.
1476] (the “Disclosure Statement Order”) that, among other things: (a) approved the Disclosure
Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

1
  The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.



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(the “Disclosure Statement”) as containing “adequate information” pursuant to section 1125(a)
of the title 11 of the United States Bankruptcy Code (the “Bankruptcy Code”); and (b) authorized
the above-captioned debtor and debtor-in-possession (the “Debtor”) to solicit acceptances of the
Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. [Docket No.
1472] (the “Plan”). 2

        PLEASE TAKE FURTHER NOTICE THAT the hearing at which the Court will
consider Confirmation of the Plan (the “Confirmation Hearing”) will commence on January 13,
2021 at 9:30 a.m. prevailing Central Time, before The Honorable Stacey G. C. Jernigan in the
United States Bankruptcy Court for the Northern District of Texas (Dallas Division), located at
Earle Cabell Federal Building, 1100 Commerce Street, 14th Floor, Courtroom No. 1, Dallas, TX
75242-1496. The deadline for filing objections to the Plan is January 5, 2021, at 5:00 p.m.,
prevailing Central Time (the “Confirmation Objection Deadline”). Any objection to the Plan
must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy Procedure and the
Bankruptcy Local Rules for the Northern District of Texas; (c) state, with particularity, the name
and address of the objecting party, the basis and nature of any objection to the Plan, and, if
practicable, a proposed modification to the Plan that would resolve such objection; and (d) be
filed with the Court on or before the Confirmation Objection Deadline.

        PLEASE TAKE FURTHER NOTICE THAT you are receiving this notice because the
Debtor’s records reflect that you are a party to a contract to be assumed by the Debtor pursuant
to the Plan Supplement [Docket No. 1606] filed on December 18, 2020. Therefore, you are
advised to review carefully the information contained in this notice and the related provisions of
the Plan.

       PLEASE TAKE FURTHER NOTICE THAT the Debtor is proposing to assume your
Executory Contract(s) and Unexpired Lease(s), listed in Schedule A attached hereto, to which
you are a party. 3

       PLEASE TAKE FURTHER NOTICE THAT section 365(b)(1) of the Bankruptcy
Code requires a chapter 11 debtor to cure, or provide adequate assurance that it will promptly
cure, any defaults under executory contracts and unexpired leases at the time of assumption.
Accordingly, the Debtor has conducted a thorough review of its books and records and has
determined the amounts required to cure defaults, if any, under the Executory Contract(s) and
Unexpired Lease(s), which amounts are listed in the table on Schedule A attached hereto. Please
note that if no amount is stated for a particular Executory Contract or Unexpired Lease, the
Debtor believes that there is no cure amount outstanding for such contract or lease.

      PLEASE TAKE FURTHER NOTICE THAT, absent any pending dispute, the
monetary amounts required to cure any existing defaults arising under the Executory Contract(s)

2
  Capitalized terms not defined herein shall have the same meaning as ascribed in the Plan.
3
  Nothing contained in the Plan or the Debtor’s schedule of assets and liabilities shall constitute an admission by the
Debtor that any such contract or lease is in fact an Executory Contract or Unexpired Lease capable of assumption
that the Debtor or the Reorganized Debtor(s) has any liability thereunder, or that such Executory Contract or
Unexpired Lease is necessarily a binding and enforceable agreement. Further, the Debtor expressly reserves the
right to remove any Executory Contract or Unexpired Lease from assumption by the Debtor and reject such
Executory Contract or Unexpired Lease pursuant to the terms of the Plan.



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and Unexpired Lease(s) identified on Schedule A attached hereto will be satisfied, pursuant to
section 365(b)(1) of the Bankruptcy Code, by the Debtor in Cash on the Effective Date or as
soon as reasonably practicable thereafter. In the event of a dispute, however, payment of the cure
amount would be made following the entry of a final order(s) resolving the dispute and
approving the assumption. If an objection to the proposed assumption or related cure amount is
sustained by the Court, however, the Debtor may elect to reject such Executory Contract or
Unexpired Lease in lieu of assuming it.

        PLEASE TAKE FURTHER NOTICE THAT the deadline for filing objections to the
assumption of an Executory Contract or Unexpired Lease is January 11, 2021, at 5:00 p.m.,
prevailing Central Time. Any objection to the assumption of your Executory Contract or
Unexpired Lease must: (a) be in writing; (b) comply with the Federal Rules of Bankruptcy
Procedure and the Bankruptcy Local Rules for the Northern District of Texas; (c) state, with
particularity, the name and address of the objecting party, the basis and nature of any objection
the assumption of the Executory Contract or Unexpired Lease, and, if practicable, a proposed
modification such proposed assumption that would resolve such objection; (d) be served on
counsel for the Debtor set forth in the signatory block below; and (e) be filed with the Court on
or before January 11, 2021 at 5:00 p.m. prevailing Central Time.

         PLEASE TAKE FURTHER NOTICE THAT any objections to the Plan in connection
with the assumption of the Executory Contract(s) and Unexpired Lease(s) proposed in
connection with the Plan that remain unresolved as of the Confirmation Hearing will be heard at
the first omnibus hearing following the Confirmation Hearing (or such other date as fixed by the
Court).

PLEASE TAKE FURTHER NOTICE THAT ANY COUNTERPARTY TO AN
EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT FAILS TO OBJECT
TIMELY TO EITHER THE PROPOSED ASSUMPTION OF SUCH CONTRACT OR
LEASE OR THE CURE AMOUNT WILL BE DEEMED TO HAVE ASSENTED TO
SUCH ASSUMPTION AND CURE AMOUNT.

     PLEASE TAKE FURTHER NOTICE THAT ASSUMPTION OF ANY
EXECUTORY CONTRACT OR UNEXPIRED LEASE PURSUANT TO THE PLAN OR
OTHERWISE SHALL RESULT IN THE FULL RELEASE AND SATISFACTION OF
ANY CLAIMS OR DEFAULTS, WHETHER MONETARY OR NONMONETARY,
INCLUDING DEFAULTS OF PROVISIONS RESTRICTING THE CHANGE IN
CONTROL OR OWNERSHIP INTEREST COMPOSITION OR OTHER
BANKRUPTCY-RELATED DEFAULTS, ARISING UNDER ANY ASSUMED
EXECUTORY CONTRACT OR UNEXPIRED LEASE AT ANY TIME BEFORE THE
DATE THE DEBTOR OR REORGANIZED DEBTOR ASSUMES SUCH EXECUTORY
CONTRACT OR UNEXPIRED LEASE. ANY PROOFS OF CLAIM FILED WITH
RESPECT TO AN EXECUTORY CONTRACT OR UNEXPIRED LEASE THAT HAS
BEEN ASSUMED SHALL BE DEEMED DISALLOWED AND EXPUNGED, WITHOUT
FURTHER NOTICE TO OR ACTION, ORDER, OR APPROVAL OF THE
BANKRUPTCY COURT.

         PLEASE TAKE FURTHER NOTICE THAT if you would like to obtain a copy of the


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Disclosure Statement Order, Disclosure Statement, the Plan, the Plan Supplement, or related
documents,      you    may:     (a)    access     the     Debtor’s  restructuring    website  at
http://www.kccllc.net/hcmlp; (b) write to HCMLP Ballot Processing Center, c/o KCC, 222 N.
Pacific Coast Highway, Suite 300, El Segundo, CA 90245; (c) call toll free: (877) 573-3984 or
international: (310) 751-1829 and request to speak with a member of the Solicitation Group; or
(d) email HighlandInfo@kccllc.com and reference “Highland” in the subject line. You may also
obtain copies of any pleadings filed in this case for a fee via PACER at: pacer.uscourts.gov.

       Alternatively, you can obtain a copy of these documents by contacting counsel for the
Debtor (a) by e-mail, at gdemo@pszjlaw.com, (b) by telephone, by contacting Gregory Demo at
(212) 561-7700, or (c) by mail, at Pachulski Stang Ziehl & Jones LLP, Attn: Gregory Demo, 780
Third Avenue, 34th Floor, New York, NY 10017. Please specify whether you would like to
receive copies of these documents by (i) e-mail transmission (in which case, please include
your e-mail address), (ii) on a CD-ROM or flash drive delivered by return mail, or (iii) in
paper copies delivered by return mail.

THIS NOTICE IS BEING SENT TO YOU FOR INFORMATIONAL PURPOSES
ONLY. IF YOU HAVE QUESTIONS WITH RESPECT TO YOUR RIGHTS UNDER
THE PLAN OR ABOUT ANYTHING STATED HEREIN OR IF YOU WOULD LIKE
TO OBTAIN ADDITIONAL INFORMATION, CONTACT THE SOLICITATION
AGENT.




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Dated: December 30, 2020.                PACHULSKI STANG ZIEHL & JONES LLP
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                                         Ira D. Kharasch (CA Bar No. 109084)
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                                         Facsimile: (310) 201-0760
                                         Email:      jpomerantz@pszjlaw.com
                                                     ikharasch@pszjlaw.com
                                                     gdemo@pszjlaw.com
                                         -and-

                                         HAYWARD & ASSOCIATES PLLC

                                         /s/ Zachery Z. Annable
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                                         Zachery Z. Annable
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                                         Counsel for the Debtor and Debtor-in-Possession




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                                            Schedule A

                     Schedule of Assumed Contracts and Leases and Proposed Cure




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                                                               Description of Assumed
     Debtor                        Counterparty                                              Cure
                                                                Contracts or Leases
Highland Capital           Aberdeen Loan Funding Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.               Attn: The Directors
Highland Capital                   AT&T Corp.
                                                               Managed Internet Service      927.16
Management, L.P.                  Attn: Peter Davis
Highland Capital                Bank of New York
Management, L.P.               Mellon Trust Company                Letter Agreement           0.00
                               Attn: Corporate Trust
Highland Capital         Bank of New York Mellon Trust
                                                              Electronic Communications       0.00
Management, L.P.                   Company
Highland Capital                Brentwood CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital               Carey International, Inc.
                                                             Advisory Services Agreement      0.00
Management, L.P.                 Attn: Gary Kessler
Highland Capital                 CCS Medical, Inc.
                                                             Advisory Services Agreement      0.00
Management, L.P.                  Attn: Steve Saft
Highland Capital                   Citibank N.A.            Reference Portfolio Management
                                                                                              0.00
Management, L.P.                 Attn: Doug Warren                    Agreement
Highland Capital               Cornerstone Healthcare
                                                            Amended and Restated Advisory
Management, L.P.                Group Holding, Inc.                                           0.00
                                                                Services Agreement
                                 Attn: David Smith
Highland Capital                Crescent Investors LP
                                                                     Office Lease             0.00
Management, L.P.               Attn: Property Manager
Highland Capital                 Eastland CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital       Falcon E&P Opportunities GP, LLC      Amended and Restated Shared
                                                                                              0.00
Management, L.P.               Attn: Marc Manzo                 Services Agreement
Highland Capital                 FTI Consulting Inc.
                                                                   Letter Agreement           0.00
Management, L.P.               Attn: Ronald Greenspan
Highland Capital                Gleneagles CLO, Ltd.
                                                           Portfolio Management Agreement     0.00
Management, L.P.                 Attn: The Directors
Highland Capital                 Grayson CLO Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital                Greenbriar CLO, Ltd.
                                                                 Servicing Agreement          0.00
Management, L.P.                 Attn: The Directors
Highland Capital         Highland Capital Multi-Strategy
                                                           Investment Management Agreement    0.00
Management, L.P.                   Fund LP
Highland Capital         Highland Capital Multi-Strategy
                                                           Investment Management Agreement    0.00
Management, L.P.                Master Fund LP




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                                                                     Description of Assumed
     Debtor                         Counterparty                                                     Cure
                                                                      Contracts or Leases
Highland Capital                   Highland Credit
                                                                Collateral Management Agreement      0.00
Management, L.P.                Opportunities CDO Ltd.
Highland Capital
                           Highland HCF Advisors, Ltd.              Shared Services Agreement        0.00
Management, L.P.
Highland Capital
                           Highland HCF Advisors, Ltd.               Sub-advisory Agreement          0.00
Management, L.P.
Highland Capital               Highland Legacy Limited
                                                                Collateral Management Agreement      0.00
Management, L.P.               Attn: Suzanne St. Thomas
Highland Capital          Highland Loan Funding V Ltd.
                                                                Collateral Management Agreement      0.00
Management, L.P.               Attn: The Directors
Highland Capital      Highland Multi Strategy Credit Fund
                                                               Third Amended & Restated Investment
Management, L.P.      Ltd., Highland Multi Strategy Credit                                           0.00
                                                                      Management Agreement
                                   Fund LP
Highland Capital               Highland Park CDO I, Ltd.
                                                                  Collateral Servicing Agreement     0.00
Management, L.P.                  Attn: The Directors
Highland Capital        Highland Prometheus Master Fund
Management, L.P.        LP, Highland Prometheus Feeder
                                                                 Amended & Restated Investment
                         Fund I LP, Highland Prometheus                                              0.00
                                                                   Management Agreement
                           Feeder Fund II LP, Highland
                               SumBridge GP LLC
Highland Capital          Highland Restoration Capital
Management, L.P.        Partners LP, Highland Restoration
                          Capital Partners Offshore LP,
                                                                     Management Agreement            0.00
                          Highland Restoration Captial
                          Partners Master LP, Highland
                             Capital Parters GP LLC
Highland Capital       Highland Select Equity Master Fund
                                                                Investment Management Agreement      0.00
Management, L.P.       LP, High Select Equity Fund GP LP
Highland Capital                   Jaspar CLO Ltd.                Amended & Restated Portfolio
                                                                                                     0.00
Management, L.P.                  Attn: The Directors               Management Agreement
Highland Capital                     Jefferies LLC
                                                                   Prime Brokerage Agreement         0.00
Management, L.P.                  Attn: Chris Bianchi
Highland Capital                  Liberty CLO, Ltd.
                                                                 Portfolio Management Agreement      0.00
Management, L.P.                  Attn: The Directors
Highland Capital                Liberty Life Assurance
                                                                Administrative Services Agreement    0.00
Management, L.P.                 Company of Boston
Highland Capital         Longhorn Credit Funding, LLC
                                                                Investment Management Agreement      0.00
Management, L.P.                Attn: Secretary
Highland Capital
                                 Paylocity Corporation           Corporation Services Agreement      0.00
Management, L.P.



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                                                                   Description of Assumed
     Debtor                        Counterparty                                                      Cure
                                                                    Contracts or Leases
Highland Capital           Petrocap Partners II GP LLC       Amended and Restated Administrative
                                                                                                     0.00
Management, L.P.             Attn: William L. Britain               Services Agreement
Highland Capital                Red River CLO Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital               Rockwall CDO II Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital               Rockwall CDO II Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors
Highland Capital                Southfork CLO Ltd.
                                                               Portfolio Management Agreement        0.00
Management, L.P.                Attn: The Directors
Highland Capital                 Stratford CLO Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                 Attn: The Directors
Highland Capital        SunTrust Robinson Humphrey Inc.
                                                             Electronic Trading Services Agreement   0.00
Management, L.P.              Attn: Documentation
Highland Capital               Trussway Holdings, Inc.          Amended and Restated Advisory
                                                                                                     0.00
Management, L.P.                 Attn: Kendall Hoyd                 Services Agreement
Highland Capital                 Valhalla CLO, Ltd.            Reference Portfolio Management
                                                                                                     0.00
Management, L.P.                 Attn: The Directors                     Agreement
Highland Capital                      ViaWest                                                        0.00
                                                                  Master Service Agreement
Management, L.P.                       Attn:
Highland Capital                      ViaWest                                                        0.00
                                                                  Master Service Agreement
Management, L.P.               Attn: John Greenwood
Highland Capital
                         Walkers Fund Services Limited             Management Agreement              0.00
Management, L.P.
Highland Capital               Westchester CLO, Ltd.
                                                                     Servicing Agreement             0.00
Management, L.P.                Attn: The Directors




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